             Case 22-11068-JTD       Doc 11053-3      Filed 04/03/24      Page 1 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In re:                                           Chapter 11

 FTX TRADING LTD., et al.,                        Case No. 22-11068 (JTD)
                                                  (Jointly Administered)
                       Debtors.
                                                  Hearing Date: May 15, 2024, at 1:00 pm (ET)
                                                  Objection Deadline: April 17, 2024, at 4:00 pm (ET)

    NOTICE OF MOTION TO VACATE THE ORDER GRANTING FTX DEBTORS’
         MOTION TO ESTIMATE CLAIMS BASED ON DIGITAL ASSETS
        WITH RESPECT TO NUGENESIS OU AND NUGENESIS PTY LTD

          PLEASE TAKE NOTICE that on April 3, 2024, NuGenesis Ou and NuGenesis PTY Ltd.

(collectively, “NuGen”) filed the Motion to Vacate The Order Granting FTX Debtors’ Motion to

Estimate Claims Based on Digital Assets With Respect to Nugenesis Ou and Nugenesis PTY Ltd

(the “Motion”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

          PLEASE TAKE FURTHER NOTICE that if you oppose the Motion or if you want the

court to consider your views regarding the Motion, you must file a written response with the Court

detailing your objection or response by April 17 ,2024, at 4:00 p.m. (ET). You must also serve

a copy of your response upon undersigned counsel.

          PLEASE TAKE FURTHER NOTICE that the hearing on the Motion is scheduled for

May 15, 2024, at 1:00 PM (ET) before the Honorable John T. Dorsey in Courtroom No. 5, Fifth

Floor, in the United States Bankruptcy Court located at 824 N. Market Street, Wilmington,

Delaware 19801.


    IF YOU DO NOT TAKE THESE STEPS BY THE DEADLINE, THE COURT MAY
DECIDE THAT YOU DO NOT OPPOSE THE RELIEF SOUGHT IN THE MOTION
AND MAY GRANT OR OTHERWISE DISPOSE OF THE MOTION BEFORE THE
SCHEDULED HEARING DATE.
         Case 22-11068-JTD   Doc 11053-3     Filed 04/03/24   Page 2 of 2




Dated: April 3, 2024                     GELLERT SCALI BUSENKELL &
Wilmington, Delaware                     BROWN LLC

                                         /s/ Michael Busenkell
                                         Michael Busenkell (No. 3933)
                                         1201 N. Orange St., Ste. 300
                                         Wilmington, DE 19801
                                         Phone: (302) 425-5800
                                         Fax: (302) 425-5814
                                         mbusenkell@gsbblaw.com

                                         Counsel for NuGenesis Ou and NuGenesis
                                         PTY Ltd




                                     2
